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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:05CR162
                       Plaintiff,                 )
                                                  )
       vs.                                        )             ORDER
                                                  )
MANUEL GARCIA,                                    )
                                                  )
                       Defendant.                 )


       This matter is before the court on the motion of Mark A. Weber to withdraw as retained
counsel for the defendant, Manuel Garcia (Garcia) (Filing No. 61). Since retained counsel,
Michael D. Nelson, has entered an appearance for Garcia (Filing No. 60), Mr. Weber’s motion
to withdraw (Filing No. 61) is granted. Mr. Weber shall forthwith provide Mr. Nelson with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. Weber which are material to Garcia’s defense.
       Mr. Weber shall submit his CJA voucher to the Office of the Federal Public Defender
within forty-five days of this order.
       The Clerk of the Court shall provide a copy of this order to the Office of the Federal
Public Defender.
       IT IS SO ORDERED.
       DATED this 30th day of November, 2005.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
